0034-0U-EPIMXX-00621338-1942603

                                   UNITED STATES BANKRUPTCY COURT
                                                WESTERN DISTRICT OF NEW YORK
                                                      BUFFALO DIVISION


In re: RICKY L STEWARD                                                                      Case No.: 1312330 B
       MICHELLE R STEWARD
         Debtor(s)                                                                          Chapter 13 Bankruptcy


                                             NOTICE OF FINAL CURE PAYMENT

              Pursuant to Federal Bankruptcy Rule 3002.1(f), the Trustee files Notice that the amount required to
        cure the default in the below claim has been paid in full and that the Debtor(s) have completed all payments
        under the plan.

        Name of Creditor:         U.S. BANK TRUST, N.A.
        Trustee Claim No.: 005

        Last four (4) digits of any number used to identify the Debtor's account: 4295

        Final Cure Amount:

               Amount of Allowed Pre-Petition Arrearage: $4,189.94

               Amount Paid by Trustee:                    $4,189.94


        Monthly Ongoing Mortgage Payment is Paid:

                        Through the Chapter 13 Trustee conduit              X   Direct by the Debtor



              Within 21 days of the service of this Notice, the creditor must file and serve same on the Debtor(s),
        Debtor's counsel and the Trustee, pursuant to Federal Bankruptcy Rule 3002.1(g), a Statement indicating
        whether it agrees that the Debtor has paid in full the amount required to cure the default and whether,
        consistent with the Bankruptcy Code section 1322(b)(5), the Debtor is otherwise current on all the payments
        or be subject to further action of the Court including possible sanctions.


        Dated: 12/07/2018                                        Respectfully submitted:


                                                                  /s/ Albert J. Mogavero
                                                                 Chapter 13 Trustee




                   Case 1-13-12330-CLB, Doc 57, Filed 12/06/18, Entered 12/06/18 07:29:16,
                                    Description: Main Document , Page 1 of 2
0034-0U-EPIMXX-00621338-3856106   United States Bankruptcy Court
                                            WESTERN DISTRICT OF NEW YORK
                                                  BUFFALO DIVISION

In Re:                                                                                          CASE NO: 1312330 B
RICKY L STEWARD
MICHELLE R STEWARD


                                                  Certificate of Service

       I hereby certify that a true copy of the Notice of Final Cure Payment was served by placing a true copy thereof; enclosed
in a sealed envelope, with postage thereon fully prepaid, for deposit with the United States Postal Service, first-class postage,
addressed as listed below.

BARRY H. STERNBERG
4245 UNION RD. SUITE 101 CHEEKTOWAGA, NY 14225
RICKY L STEWARD
174 PARKRIDGE AVE BUFFALO, NY 14215
MICHELLE R STEWARD
174 PARKRIDGE AVE BUFFALO, NY 14215
U.S. BANK TRUST, N.A.
323 5TH STREET EUREKA, CA 95501




Dated: 12/07/2018                                                          /s/ Albert J. Mogavero
                                                                           Chapter 13 Trustee




                  Case 1-13-12330-CLB, Doc 57, Filed 12/06/18, Entered 12/06/18 07:29:16,
                                   Description: Main Document , Page 2 of 2
